     2:18-mn-02873-RMG          Date Filed 03/27/23       Entry Number 2936         Page 1 of 5




                            UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF SOUTH CAROLINA
                                CHARLESTON DIVISION


                                                                 MDL No. 2:18-mn-2873-RMG
    IN RE: AQUEOUS FILM-FORMING FOAMS
                                                                 This Document relates to:
    PRODUCTS LIABILITY LITIGATION
                                                                 ALL CASES


      CONSENT MOTION TO EXTEND THE BRIEFING SCHEDULE TO FILE THE
         PLAINTIFFS’ EXECUTIVE COMMITTEE’S MOTION TO COMPEL

        Pursuant to Local Civil Rule 6.01, the parties move by consent for an extension of time

for the Plaintiffs’ Executive Committee (“PEC”) to file a renewed Motion to Compel the

Production of Documents from Defendants E. I. du Pont de Nemours and Company, The

Chemours Company and The Chemours Company FC, LLC (“Defendants”), pursuant to this

Court’s Order on Defendants’ Motion for Reconsideration (the “Order,” ECF 2844).

        The Order directed the parties to meet and confer and permitted the PEC to file a motion

to compel by March 27, 2023.1 During the meet and confer process, the parties have made

progress to narrow their dispute over remaining documents. Defendants have agreed to produce a

number of documents but need additional time to complete their productions. The PEC, in turn,

needs time to review those forthcoming productions and meet and confer, if possible, with respect

to any documents Defendants withhold from their productions.

        The extension would not affect the deadlines for any other parties or claims in this

litigation. The pending productions relate to Plaintiffs’ fraudulent transfer claims against these

Defendants. The Court has entered the Stipulation Regarding Fraudulent Transfer Claims

Deadlines setting out a separate discovery deadline governing Plaintiffs’ fraudulent transfer


1
        Order at 13 (“[T]he PEC shall meet and confer with Defendants within the next 30 days
        and file any motion to compel as to said documents within 45 days of this Order.”)
                                                  1
    2:18-mn-02873-RMG          Date Filed 03/27/23       Entry Number 2936        Page 2 of 5




claims. See CMO 23. The parties previously agreed that they would seek an extension of the

discovery deadlines after the PEC’s Motion to Compel was decided, see ECF 2329, in a motion

that this Court granted by text order, ECF 2353. The PEC’s Motion to Compel was decided by an

order of this Court dated December 1, 2022, which was modified by the Order. The extension

would not affect any other deadlines in this litigation. See CMO 23 at ¶ 2.

        For the reasons set forth above, the parties respectfully move the Court for a brief

extension of time from March 27, 2023 until April 17, 2023, for the PEC to file a motion to

compel, if necessary, after the parties complete the meet and confer process. Counsel for

Defendants have consented and authorized counsel for Plaintiffs to include counsel for

Defendants’ electronic signature on this consent motion.

Dated: March 27, 2023         Respectfully Submitted,

                                              By: /s/ Fred Thompson
                                              Fred Thompson
                                              Motley Rice LLC
                                              28 Bridgeside Boulevard
                                              Mt. Pleasant, SC 29464
                                              P: (843) 216-9000
                                              Fax: 843-216-9440
                                              fthompson@motleyrice.com

                                              Plaintiffs’ Liaison Counsel

                                              -and-

                                              /s/ Michael A. London
                                              Michael A London
                                              Douglas and London PC
                                              59 Maiden Lane 6th Floor
                                              New York, NY 10038
                                              P: (212)-566-7500
                                              F: (212)-566-7501
                                              mlondon@douglasandlondon.com
2:18-mn-02873-RMG   Date Filed 03/27/23   Entry Number 2936      Page 3 of 5




                                Paul J. Napoli
                                Napoli Shkolnik PLLC
                                1301 Avenue of The Americas, 10th Floor
                                New York, NY 10019
                                P: (212)-397-1000
                                F: (646)-843-7603
                                pnapoli@napolilaw.com

                                Scott Summy
                                Baron & Budd, P.C.
                                3102 Oak Lawn Avenue, Suite 1100
                                Dallas, TX 75219
                                P: (214)-521-3605
                                ssummy@baronbudd.com

                                Co-lead Counsel for Plaintiffs




                                WE CONSENT

                                By: /s/ Katharine A. Roin

                                John S. Phillips (CO No. 24884)
                                Katherine L.I. Hacker (CO No. 46656)
                                BARTLIT BECK LLP
                                1801 Wewatta St., 12th Floor
                                Denver, CO 80202
                                Telephone: (303) 592-3100
                                Facsimile: (303) 592-3140
                                john.phillips@bartlitbeck.com
                                kat.hacker@bartlitbeck.com

                                Katharine A. Roin (IL No. 6302872)
                                Joshua P. Ackerman (IL No. 6317777)
                                BARTLIT BECK LLP
                                54 W. Hubbard St.
                                Chicago, IL 60654
                                Telephone: (312) 494-4400
                                Facsimile: (312) 494-4440
                                kate.roin@bartlitbeck.com
                                joshua.ackerman@bartlitbeck.com
2:18-mn-02873-RMG   Date Filed 03/27/23   Entry Number 2936         Page 4 of 5




                                John C. Moylan, III (Fed. I.D. # 5431)
                                Matthew T. Richardson (Fed. I.D. #7791)
                                Alice W. Parham Casey (Fed. I.D. #9431)
                                Mary Lucille Dinkins (Fed. I.D. #11961)
                                WYCHE, P.A.
                                807 Gervais St., Suite 301
                                Columbia, SC 29201
                                Telephone: (803) 254-6542
                                Facsimile: (803) 254-6544
                                jmoylan@wyche.com
                                mrichardson@wyche.com
                                tcasey@wyche.com
                                ldinkins@wyche.com

                                Counsel for Defendant E.I. du Pont de Nemours
                                and Company on the fraudulent transfer claims

                                /s/ Margaret Raymond Flood
                                Margaret Raymond Flood
                                Norris McLaughlin
                                400 Crossing Boulevard, 8th Floor
                                Bridgewater, NJ 08807
                                P: (908) 722-0700
                                mraymondflood@norris-law.com

                                Counsel for Defendants The Chemours Company
                                and The Chemours Company FC, LLC on the
                                fraudulent transfer claims
    2:18-mn-02873-RMG             Date Filed 03/27/23        Entry Number 2936          Page 5 of 5




                                  CERTIFICATE OF SERVICE
        I hereby certify that a true and correct copy of the foregoing was electronically filed with

this Court’s CM/ECF on this 27th Day of March, 2023 and was thus served electronically upon

counsel of record.


                                                                   /s/ Fred Thompson, III
